                      Case 1:21-cr-00027-CKK Document 1 Filed 01/15/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                            )
                             v.                                       )
                     ARTIE BYRD                                       )       Case No.
             DOB: xx/xx/xxxx-PDID: xxx-xxx                            )
                                                                      )
                                                                      )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 14, 2021               in the county of                                   in the
                       District of            Columbia           , the defendant(s) violated:
            Code Section                                                         Offense Description
18 U.S.C. § 922(g)(1)                              knowing he had previously been convicted of a crime punishable by
                                                   imprisonment for a term exceeding one year, did possess in and affecting
                                                   commerce, a firearm and ammunition, and did receive a firearm and
                                                   ammunition, which had been shipped and transported in interstate and foreign
                                                   commerce, that is, a Ruger P95, 9mm semi-automatic pistol and 9mm
                                                   ammunition.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔Continued on the attached sheet.
         ’



                                                                                                Complainant’s signature

                                                                                         ANTHONY DELBORRELL, Officer
                                                                                                 Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by Telephone (specify reliable electronic means).
                                                                                                               Zia M. Faruqui
Date:             01/15/2021                                                                                   2021.01.15 13:37:02 -05'00'
                                                                                                   Judge’s signature

City and state:                           Washington, DC                           ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                                 Printed name and title




        Print                        Save As...                   Attach                                                   Reset
